                                                                                      Case 8:15-cv-00688-CJC-DFM Document 14 Filed 06/02/15 Page 1 of 2 Page ID #:85


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                                                                                  6 VERRAGIO, LTD
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                                                                                  8                          UNITED STATES DISTRICT COURT
                                                                                  9                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                 10
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11 VERRAGIO, LTD                               )   Case No. 8:15-cv-0688 CJC (DFMx)
                                                                                                                                )
                                                                                 12                      Plaintiff,             )
                                                                                                                                )   REQUEST TO CLERK TO ENTER
                                                                                 13          v.                                 )
TUCKER ELLIS LLP




                                                                                                                                    DEFAULT
                                                                                                                                )
                                                                                 14 KIEU HANH JEWELRY,                          )   Hon. Cormac J. Carney
                                                                                                                                )
                                                                                 15                      Defendant.             )
                                                                                 16
                                                                                 17 TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                                                                                 18          Plaintiff Verragio, Ltd. (“Plaintiff”), hereby requests the Clerk of the above-
                                                                                 19 entitled Court enter default in this matter against Defendant Kieu Hanh Jewelry
                                                                                 20 (“Defendant”), on the grounds that Defendant failed to appear or otherwise respond to the
                                                                                 21 Complaint within the time prescribed by the Federal Rules of Civil Procedure.
                                                                                 22          The Summons, Complaint and related documents were served on Defendant on
                                                                                 23 May 5, 2015.
                                                                                 24          Pursuant to Fed. R. Civ. P. 12(a), Defendant was required to serve its answer
                                                                                 25 within 21 days after being served with the Summons and Complaint. The deadline for
                                                                                 26 Defendants to answer, therefore, was May 26, 2015. Defendant has not filed its answer
                                                                                 27 or any responsive papers.
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                                                                                 1             Plaintiff therefore requests the Clerk of the Court, pursuant to Fed. R. Civ. P.
                                                                                 2 55(a), enter default against Defendant Kieu Hanh Jewelry.
                                                                                 3
                                                                                 4 DATED: June 2, 2015                             Tucker Ellis LLP
                                                                                 5
                                                                                 6                                                 By:   /s/Howard A. Kroll
                                                                                 7                                                       Howard A Kroll
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TUCKER ELLIS LLP




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